        Case 8-17-74991-las               Doc 16       Filed 01/22/18    Entered 01/22/18 12:49:19




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 13

John M. Hoek,                                                           Case No. 8-17-74991-las

                                       Debtor.
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                        ORDER (I) VOIDING JUNIOR MORTGAGE LIEN AND
                   (II) AVOIDING JUDICIAL LIEN IN THIS CHAPTER 13 CASE

         Upon the motion dated December 6, 2017 (the “Motion”) of John M. Hoek (the

“Debtor”), by his attorneys, Richard L. Stern, P.C., for entry of an order (1) pursuant to 11

U.S.C. §§ 506(a), (d) and 1322(b), voiding the junior mortgage lien of Citibank, N.A. and

reclassifying its claim as a wholly unsecured claim, and (2) pursuant to 11 U.S.C. § 522(f),

avoiding the judicial lien of Aladdin Fuel Service, Inc. as a lien of record against the real

property located at 543 Bayport Avenue, Bayport, NY 11705 (the “Property”); and the Court

having jurisdiction to consider the Motion and the relief requested therein in accordance with

28 U.S.C. § 1334; and consideration of the Motion and the relief requested therein being a

core proceeding pursuant to 28 U.S.C. § 157(b); and due and proper notice of the Motion

having been given; and it appearing that no other or further notice need be provided; and no

opposition having been interposed; and the Court having found and determined that the

judicial lien sought to be avoided impairs an exemption to which the Debtor would otherwise

be entitled under 11 U.S.C. § 522(f); and after due deliberation and there appearing to be

sufficient cause to grant the relief requested; it is hereby

         ORDERED that pursuant to 11 U.S.C. §§ 506(a), 506(d), 522(f) and 1322(b), the

Motion is granted to the extent provided herein; and it is further

         ORDERED that the junior mortgage lien held by Citibank, N.A. against the Property

recorded with the Clerk of Suffolk County, State of New York, under Liber M00021373, Page



                                                              1
      Case 8-17-74991-las      Doc 16    Filed 01/22/18   Entered 01/22/18 12:49:19




280 in the amount of $42,000 on August 30, 2006, shall be treated as wholly unsecured during

the pendency of the Debtor’s Chapter 13 Plan; and it is further

       ORDERER that upon the filing by the Chapter 13 Trustee of a Certification of

Completed Chapter 13 Plan, the junior mortgage lien held by Citibank, N.A. shall

automatically become void, released and discharged; and it is further

       ORDERED that upon the filing by the Chapter 13 Trustee of a Certification of

Completed Chapter 13 Plan, the following judicial lien shall be vacated, expunged, and

avoided as a lien of record against the Property:

           1. Aladdin Fuel Service, Inc. vs. John Hoek, recorded with the Clerk of Suffolk

               County, State of New York, on August 11, 2016, in the amount of $2,299.51;

and it is further

       ORDERED that upon the filing by the Chapter 13 Trustee of a Certification of

Completed Chapter 13 Plan, the Debtor may present a certified copy of this Order to the

Clerk of Suffolk County to remove the aforementioned junior mortgage lien and the judicial

lien against the Debtor’s real property located at 543 Bayport Avenue, Bayport, NY 11705

       ORDERED that the Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




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 Dated: January 22, 2018                                         Louis A. Scarcella
        Central Islip, New York                           United States Bankruptcy Judge


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